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Se a a ATION DISBURSEMENT REPORT

 

 

 
    

 

 

 

 

 

 

 

 

 

Debtor: Sunshine Wind Down, LLC Reporting Month: Dec-19
Case No.: 18-31644
55-00010689 Totals

inning G/L Balance 1,761,286.84 393,179.44 2,154, 466.28
Receipts -
Transfers In 600,000.00 600,000.00
Other: Interest 201.95 201,95
Total Receipts 201.95 600,000.00 - - 600,201.95
Disbursements 543,635.85 543,635.85
Transfers Out 600,000.00 600,000.00
Other: Bank Fees 42.96 42.96
Total Disbursements 600,000.00 543,678.81 - - 1.143.678.81
Ending G/L Balance 1,161,488.79 449 500.63 - -

 

 

 

 

Please provide Answers to the following questions:
1. Did the debtor sell any real property or other assets during this reporting period?
If yes, were the gross proceeds of the sale included in one of the reported bank accounts?

2. Did another party, other than the debtor, make disbursements for, or for the benefit of, the
debtor during this reporting period?

if yes, provide detail of the disbursements.

3. At the end of the reporting period, did the debtor have any delinquent statutory fees owing
to the U.S. Trustee?

 

1.610.989.42

 

 

 

 

DEBTOR'S CERTIFICATION OF DISBURSEMENT INFORMATION

| certify under penalty of purjury that to the best of my knowledge the disbursement information provided for this reporting period is

complete, true, and

Debtor's Signature Z2 Date__ 1/20/20
The debtor, plan agent or admirietrathr, Wiust bigetrertiSmursement reper. Only an ciicer or direcior has autvrity
to sign arepert for a corporate debtor and only a general partner hes Buthority $0 Sign & report for a partnership debtor

 

 

Case 18-31644-pcm11 Doc915_ Filed 01/21/20
